                         UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

MICHIGAN ASS’N OF PUBLIC SCHOOL                       )
ACADEMIES, et al.                                     )
                                                           Civil Action No. 1:22-cv-00712
                                                      )
                        Plaintiffs                    )
                                                           Hon. Paul L. Maloney
                                                      )
                                                           U.S. District Court Judge
               v.                                     )
                                                      )
                                                           Hon. Sally J. Berens
U.S. DEPARTMENT OF EDUCATION, et al.                  )
                                                           U.S. Magistrate Judge
                                                      )
                        Defendants                    )

 DEFENDANTS’ MOTION FOR STAY AND EXTENSION OF TIME TO RESPOND TO
                           COMPLAINT

       Defendants U.S. Department of Education; Miguel Cardona, Secretary of Education; and

Ruth E. Ryder, Deputy Assistant Secretary for Policy and Programs, Office of Elementary and

Secondary Education, move the Court to stay and extend the time for defendants to file a

response to plaintiffs’ Complaint, ECF No. 1, until after plaintiffs have filed an amended

complaint or leave to file an amended complaint has been denied, for the reasons explained in

the attached supporting brief. Plaintiffs have indicated that they oppose this request.

Date: October 4, 2022                           Respectfully submitted,

                                                BRIAN M. BOYNTON
                                                Principal Deputy Assistant Attorney General

                                                MARCIA BERMAN
                                                Assistant Branch Director

                                                /s/ JAMES C. LUH
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